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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


USA                                             §
                                                §
vs.                                             §   Case Number: EP:25-M -00351(1) RFC
                                                §
(1) VESY MICHELL                                §
HERNANDEZ-ZAVALA

              ORDER SETTING PRELIMINARY / DETENTION HEARING


            IT IS HEREBY ORDERED that the above entitled and numbered case is set for
 PRELIMINARY / DETENTION HEARING, in Magistrate Courtroom 612, on the 6th Floor
of the United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:

                                  January 30, 2025 at 03:00 PM

            Defense Counsel is ORDERED to meet and confer with the Defendant prior to the
time of the hearing. Failure to do so, in absence of good cause, will result in termination of the
appointment of counsel.

             IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Counsel for the defendant
shall notify the defendant of this setting and if the defendant is on bond, advise the defendant to
be present at this proceeding.

             In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the grant of new trial, the dismissal
of an action, or finding in contempt.

            IT IS SO ORDERED this 27th day of January, 2025.



                                                ______________________________
                                                ROBERT F. CASTANEDA
                                                UNITED STATES MAGISTRATE JUDGE
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

USA                                                                 §
                                                                    §
vs.                                                                 §      NO: EP:25-M -00351(1) RFC
                                                                    §
(1) VESY MICHELL HERNANDEZ-ZAVALA                                   §

                                     WAIVER OF PRELIMINARY HEARING
                                       AND/OR DETENTION HEARING
                                         (Rule 5 or 32.1, Fed.R.Crim.P.)

PRELIMINARY HEARING

          I, (1) VESY MICHELL HERNANDEZ-ZAVALA, charged in a complaint pending in this District, and
having appeared before this Court and been advised of my rights as required by Rule 5 or 32.1, Fed.R.Crim.P.,
including my right to have a preliminary hearing, I have been advised that at a preliminary hearing, the government
will be required to provide evidence to support the charges pending against me. Now, appearing with the benefit of
counsel I, do hereby waive (give up) my right to a preliminary hearing.

          Yo, (1) VESY MICHELL HERNANDEZ-ZAVALA, el inculpado en una acusación pendiente en este
Distrito, he comparecido ante este Tribunal y me han informado de mi derecho a una audiencia preliminar,
cumpliendo con el reglamento 5 o 32.1 de los Reglamentos de Procedimientos Penales Federales, por este medio
renuncio (abandono) a mi derecho a una audiencia preliminar.


Date/Fecha                                                     (1) VESY MICHELL HERNANDEZ-ZAVALA,
                                                               Defendant/Acusado

DETENTION HEARING

         I have also been advised of my right to a detention hearing. I have been advised that, at a detention hearing,
the court will hear evidence to determine whether I should be held in jail without bond or whether a bond should be
set for me. I have been advised that, if I waive (give up) my right to a detention hearing, I will be held in jail without
bond while I wait for trial. I have discussed this right with counsel, and I hereby waive (give up) my right to have a
detention hearing.

        También me han informado de mi derecho a una audiencia para fijar fianza, el juez recibirá las pruebas para
poder determinar si seguiré detenido sin fianza o si me fijarán fianza. Me han informado que si renuncio (abandono)
mi derecho a una audiencia para fijar fianza, seguiré detenido sin fianza hasta que se me someta a jucio. Renuncio
(abandono) mi derecho a una audiencia para fijar fianza.


Date/Fecha                                                     (1) VESY MICHELL HERNANDEZ-ZAVALA,
                                                               Defendant/Acusado


                                                               Biddle Richard, Jackeline,
                                                               COUNSEL FOR DEFENDANT
